      Case 6:14-cr-06038-EAW-JWF Document 1 Filed 03/27/14 Page 1 of 5




   IN THE DISTRICT COURT OF THE UNITED STATES
           For the Western District of New York
                            _______________________________

                                                      OCTOBER 2013 GRAND JURY
                                                      (Impaneled 10/28/13)



THE UNITED STATES OF AMERICA                          INDICTMENT

                     -vs-                             Violations:

ALEXANDER GREEN                                        21 U.S.C. § 846;
    (Counts 1, 2)                                      18 U.S.C. § 1956(h)
CHARLES GREEN
     (Counts 1, 2)                                     (2 Counts)
MICHAEL AMALFI, JR.
    (Counts 1, 2)
CHRISTOPHER ALVINO
    (Count 1)
PETER WILK
    (Count 1)
MICHAEL MARCIANO
     (Count 1)

                                       COUNT 1

                                 (Narcotics Conspiracy)

                              The Grand Jury Charges That:

     Beginning in or about January 2010, the exact date being unknown to the Grand Jury,

and continuing thereafter up to the date of the return of this Indictment, in the Western

District of New York, and elsewhere, the defendants, ALEXANDER GREEN, CHARLES

GREEN, MICHAEL AMALFI, JR., CHRISTOPHER ALVINO, PETER WILK and

MICHAEL MARCIANO, did knowingly, willfully and unlawfully combine, conspire and

agree together and with others, known and unknown to the Grand Jury, to commit the
       Case 6:14-cr-06038-EAW-JWF Document 1 Filed 03/27/14 Page 2 of 5



following offenses, that is, to possess with the intent to distribute, and to distribute, 100

kilograms or more of a mixture and substance containing a detectable amount of marijuana, a

Schedule I controlled substance, in violation of Title 21, United States Code, Sections

841(a)(1) and 841(b)(1)(B).

               All in violation of Title 21, United States Code, Section 846.

                                          COUNT 2

                              (Money Laundering Conspiracy)

                           The Grand Jury Further Charges That:

       Beginning in or about January 2010, the exact date being unknown to the Grand Jury,

and continuing thereafter up to the date of the return of this Indictment, in the Western

District of New York, and elsewhere, the defendants, ALEXANDER GREEN, CHARLES

GREEN and MICHAEL AMALFI, JR., did knowingly, willfully and unlawfully combine,

conspire and agree together and with others, known and unknown, to commit the following

offense, namely, to knowingly conduct and attempt to conduct financial transactions

affecting interstate commerce, that is, the transfer, delivery and disposition of currency,

which involve the proceeds of specified unlawful activity, that is, the unlawful distribution of

marijuana, a Schedule I controlled substance, and conspiracy to do so, in violation of Title

21, United States Code, Sections 841(a)(1) and 846, with the intent to promote the carrying

on of said specified unlawful activity, and while knowing that the property involved in the

financial transactions represented the proceeds of some form of unlawful activity, in violation

of Title 18, United States Code, Section 1956(a)(1)(A)(i).

             All in violation of Title 18, United States Code, Section 1956(h).

                                               2
       Case 6:14-cr-06038-EAW-JWF Document 1 Filed 03/27/14 Page 3 of 5



                          FIRST FORFEITURE ALLEGATION

                               The Grand Jury Alleges That:

       Upon conviction of the offenses alleged in Count One of this Indictment, the

defendant, ALEXANDER GREEN, CHARLES GREEN, MICHAEL AMALFI, JR.,

CHRISTOPHER ALVINO, PETER WILK and MICHAEL MARCIANO shall forfeit to

the United States any property which constitutes or is derived from proceeds the defendant

obtained, directly or indirectly, as the result of the controlled substance offense alleged in

Count One or was used or intended to be used in any manner or part to commit or to facilitate

the commission of such offense.

       If any of the property described above, as a result of any act or omission of the

defendants;

       1.     cannot be located upon the exercise of due diligence;

       2.     has been transferred or sold to, or deposited with, a third person;

       3.     has been placed beyond the jurisdiction of the Court;

       4.     has been substantially diminished in value; or

       5.     has been commingled with other property which cannot be divided without
              difficulty;


       The United States of America shall be entitled to forfeiture of substitute property

pursuant to Title 21, United States Code, Section 853(p).



       All pursuant to the Title 21, United States Code, Sections 853(a)(1) and (a)(2) and
Title 21, United States Code, Section 853(p).


                                              3
       Case 6:14-cr-06038-EAW-JWF Document 1 Filed 03/27/14 Page 4 of 5



                        SECOND FORFEITURE ALLEGATION

                               The Grand Jury Alleges That:

       Upon conviction of the offense set forth in Count 2 of this Indictment, the defendants,

ALEXANDER GREEN, CHARLES GREEN and MICHAEL AMALFI, JR., shall forfeit

to the United States, any property, real or personal, which constitutes or is derived from

proceeds traceable to the offense.

       If any of the property described above, as a result of any act or omission of the

defendants;

       1.     cannot be located upon the exercise of due diligence;

       2.     has been transferred or sold to, or deposited with, a third person;

       3.     has been placed beyond the jurisdiction of the Court;

       4.     has been substantially diminished in value; or

       5.     has been commingled with other property which cannot be divided without
              difficulty;


       The United States of America shall be entitled to forfeiture of substitute property

pursuant to and Title 28, United States Code, Section 2461(c).

       All pursuant to Title 18, United States Code, Section 981(a)(1)(C), Title 28, United
States Code, Section 2461(c), and Title 21, United States Code, Section 853(p).




                                              4
     Case 6:14-cr-06038-EAW-JWF Document 1 Filed 03/27/14 Page 5 of 5




DATED: Rochester, New York, March 27, 2014.


                                          WILLIAM J. HOCHUL, JR.
                                          United States Attorney


                                   BY:    s/Douglas E. Gregory
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A TRUE BILL:


s/Foreperson
FOREPERSON




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